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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA


In re:                                                                Bankr. Case No. 17-69050-LRC-13
Chester P Ramagos and Dana L Ramagos                                                          Chapter 13
         Debtor(s)


                                        REQUEST FOR NOTICE



    Pursuant to Rule 2002(g), Americredit Financial Services, Inc. dba GM Financial hereby requests that
all notices, pleadings and other documents in this case be served upon it at the following address:

                                 Americredit Financial Services, Inc. dba GM Financial
                                 PO Box 183853
                                 Arlington, TX 76096




                                                    /s/ Mandy Youngblood
                                                 By__________________________________

                                                      Mandy Youngblood
                                                      PO Box 183853
                                                      Arlington, TX 76096
                                                      877-203-5538
                                                      877-259-6417
                                                      Customer.service.bk@gmfinancial.com
    Case 17-69050-lrc       Doc 14     Filed 12/20/17 Entered 12/20/17 18:25:10             Desc Main
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Certificate of Service
This Request for Notice was sent via first class mail to or served electronically on the following
individuals on December 5, 2017 :
       Michael Andrew Graves                                  Melissa J. Davey
       Suite 201                                              260 Peachtree St., NW, #200
       303 Perimeter Center N                                 Atalant, GA 30303
       Atlanta, GA 30346


                                                             /s/ Mandy Youngblood
                                                          By___________________________________
                                                              Mandy Youngblood
 xxxxx87628 / 942161
